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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
______________________________________________________________________________

ALBERT TAYLOR, KAYLIN GUZMAN,
BRIANNA GUZMAN and SHAQUANA
MYRICK,
                                                      Civil Action No.__________
              Plaintiffs,

       vs.


CITY OF JERSEY CITY, HUDSON
                                                   COMPLAINT, JURY DEMAND and
COUNTY PROSECUTORS OFFICE,
                                                  DESIGNATION OF TRIAL COUNSEL
CHIEF MICHAEL KELLY, individually
and in his capacity as Chief of Police of
Jersey City, KEITH STITH, individually and
in his capacity as Chief of Detectives for
Hudson County, JOHN and JANE DOES (1-
10) are fictitious names pleaded as
Defendants, whose true identities are
unknown to Plaintiff at this time, ABC
ENTITIES 1-5, fictitious names for entities
currently unknown to Plaintiff at this time,
              Defendants


       Plaintiffs Albert Taylor, Kaylin Guzman, Brianna Guzman and Shaquana Myrick, by way

of Complaint against Defendants say:


                                       INTRODUCTION


       1.     This is an action for damages sustained by Albert Taylor, Kaylin Guzman,

Brianna Guzman and Shaquana Myrick, citizens of the State of New Jersey and United States,




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against law enforcement officers of the Jersey City Police Department and Hudson County

Prosecutors Office, who unlawfully entered their residence, detained, assaulted, harassed and

otherwise injured Plaintiffs.

        2.      The action is against the City of Jersey City and the County of Hudson as the

employer of law enforcement personnel, which is sued as a person under 42 U.S.C. § 1983.



                                      JURISDICTION AND VENUE



        3.      The jurisdiction of this Court is invoked pursuant to 42 U.S.C. § 1983. This Court

has jurisdiction over Plaintiff‟s federal civil rights claims pursuant to 28 U.S.C. §§ 1331 and

1343, and supplemental jurisdiction over Plaintiff‟s state law claims pursuant to 28 U.S.C. §

1367.

        4.      Venue is proper under 28 U.S.C. § 1391 because the events giving rise to

Plaintiff‟s claims occurred in this District.

        5.      The causes of action alleged, seek to redress the deprivation, under the color of

state law, policy and custom, of rights secured by the United States Constitution, the New Jersey

Constitution, and the statutory and common laws of the state of New Jersey, and to recover

damages, costs, and attorney fees under 42 U.S.C. §§ 1983, 1985(1), (2), (3) and 1988.

        6.      The acts, omissions and conspiracies alleged in this complaint were engaged in

and carried out by all defendants individually and under color of state law and/or agents,

employees and co-conspirators of the Jersey City Police Department, the Hudson County

Prosecutor‟s Office and ABC Entities 1-5, by and through their employees, agents, officials and

co-conspirators pursuant to governmental policy, practice, and custom and under color of law.




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          7.    A Notice of Claim has been filed with the municipality and more than six months

have elapsed without resolution of this claim.



                                                 PARTIES

          8.    Plaintiff Albert Taylor is an adult male of African American descent residing at

170 Carteret Avenue, City of Jersey City, County of Hudson, and State of New Jersey.

          9.    Plaintiff Kaylin Guzman is an adult female of African American descent residing

at 170 Carteret Avenue, City of Jersey City, County of Hudson, and State of New Jersey.

          10.   Plaintiff Brianna Guzman is an adult female of African American descent residing

at 170 Carteret Avenue, City of Jersey City, County of Hudson, and State of New Jersey.

          11.   Plaintiff Shaquana Myrick is an adult female of African American descent

residing at 170 Carteret Avenue, City of Jersey City, County of Hudson, and State of New

Jersey.

          12.   Defendants John and Jane Does 1-10 are law enforcement officers employed by

Defendant City of Jersey City, County of Hudson, State of New Jersey or any other

governmental entity that acted in the course of their employment and/or under color of state law.

They are sued in their official and individual capacity.

          13.   Defendant, City of Jersey City (hereinafter “Jersey City”), is a municipality

within the State of New Jersey and, at all times relevant to the allegations of this Complaint, was

the employer of the individual defendants.

          14.   Defendant, County of Hudson (hereinafter “Hudson County”), is a municipality

within the State of New Jersey and, at all times relevant to the allegations of this Complaint, was

the employer of the individual defendants.




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       15.     Defendant, ABC Entities 1-5 are governmental entities who, at all times relevant

to the allegations in this Complaint, employed the individual defendants.

       16.     At all times relevant to the allegations of this Complaint, Defendant Michael

Kelly (hereinafter “Kelly”) served as Police Chief for Defendant Jersey City and was the primary

official responsible for the training, discipline, and supervision of its police officers including,

without limitation, Defendants John and Jane Does 1-10. He is sued in his official and individual

capacity.

       17.     At all times relevant, Keith Stith (hereinafter “Stith”) served as Chief of

Detectives of Hudson County and was the primary official responsible for the promulgation of

policy and practice pertaining to training, discipline, and supervision of its law enforcement

officers including, without limitation, Defendants John and Jane Does 1-10. She is sued in her

official and individual capacity.

                       .

                                    FACTUAL ALLEGATIONS

       18.     On March 3, 2020, Plaintiffs Albert Taylor, Kaylin Guzman, Brianna Guzman

and Shaquana Myrick were asleep in their residence located at 170 Carteret Avenue, City of

Jersey City, County of Hudson, and State of New Jersey.

       19.     At approximately 1:00 a.m., officers from the Jersey City Police Department and

Hudson County Prosecutors Office and John and Jane Does 1-10 broke down the front door to

their dwelling and made entrance.

       20.     Defendant Officers of the Jersey City Police Department and Defendant Hudson

County Prosecutors Office and John and Jane Does 1-10 then went through the residence,

violently detaining Plaintiffs‟ and their children which included children under twelve (12) years

of age at gunpoint for hours.




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        21.     Defendant Officers of the Jersey City Police Department and Defendant Hudson

County Prosecutors Office and John and Jane Does 1-10 then aggressively handcuffed each

individual, including the children and falsely imprisoned Plaintiffs‟ and their family.        The

handcuffs were placed so tight as to cause injury. Despite requests to loosen the cuffs the pleas

were ignored.

        22.     Defendants previously obtained a search warrant for another apartment, but

unlawfully entered the Plaintiffs apartment despite clear indications that it was wrong.

        23.     As a result of the misconduct described above, Plaintiffs were injured and

experienced humiliation, emotional distress, physical pain and suffering, psychological trauma,

loss of assets and other incurred expenses.



                                   COUNT I- 42 U.S.C. § 1983

        24.     The Fourth Amendment prohibits law enforcement from using excessive force

on citizens.

        25.     As a direct and proximate cause of the actions of Defendants, individually and

jointly, Plaintiff suffered the following injury and damages:

                a.      Violation of their constitutional rights under the Fourth and Fourteenth

        Amendment to the United States Constitution and the laws of the State of New Jersey

        to be free in his person from unreasonable and unjustified force;

                b.      Physical pain and suffering, and emotional trauma and suffering.

        26.     Plaintiffs claim damages under 42 U.S.C. §1983 for the injury set forth above

against Defendants for their violation of the clearly established and well settled federal

constitutional rights of Plaintiffs.




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       27.     The actions of John Does 1-10 as outlined above, constitute excessive and

objectively unreasonable use of force under the circumstances.

       28.     As a direct and proximate result of the above-referenced unlawful and

malicious physical abuse of Plaintiffs by Defendants John Does 1-10 committed under color

of state law, Plaintiffs sustained bodily harm and were deprived of their right to be secure in

his person against unreasonable seizure of his person, in violation of the Fourth and

Fourteenth Amendments of the Constitution of the United States and U.S.C. Section 1983.

       29.     As a direct and proximate cause of the conduct of Defendants John Does 1-10

as set forth above, Plaintiffs suffered bodily and emotional injuries; lost wages, and will

suffer additional special damages in the future in an amount which cannot yet be determined.

       WHEREFORE, Plaintiffs demand judgment against Defendants John Does 1-10 on

this Count together with compensatory and punitive damages, attorney‟s fees, interest and

costs of suit incurred and for any such further relief as the court deems proper and just.



                     COUNT II 42 U.S.C. § 1983
                  UNLAWFUL POLICY OR CUSTOM
           FAILURE TO TRAIN, SUPERVISE AND DISCIPLINE
       MONELL CLAIM AGAINST DEFENDANTS JERSEY CITY, HUDSON
  COUNTY AND ABC ENTITIES 1-5, MICHAEL KELLY, KEITH STITH AND/OR
                         JOHN DOES 1-10


       30.     Plaintiff hereby incorporates the preceding paragraphs of this Complaint, as set

forth above.

       31.     Defendants Jersey City, Hudson County, ABC Entities 1-5, Michael Kelly,

Keith Stith and/or John Does 1-10 are vested by state law with the authority to make policy

on: (1) the use of force; internal affairs investigations and/or administrative reviews pursuant

to their Departmental policies, practices and/or customs and/or the New Jersey Attorney




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General‟s Use of Force and/or Internal Affairs Guidelines; (2) effectuating arrests; (3) police

citizen encounters, and/or (4) disciplining officers.

         32.   Defendants Kelly, Stith and/or John Does 1-10 are responsible for training law

enforcement Officers in the use of force and/or were officers in charge when Plaintiffs were

assaulted and arrested.

         33.   At all times mentioned herein, Defendants John Does 1-10, as law enforcement

officers, agents, servants and/or employees of Defendants Jersey City, Hudson County and

ABC entities 1-5, were acting under the direction and control of Defendant Jersey City,

Hudson County, ABC entities 1-5, Michael Kelly, Keith Stith and/or John Does 1-10, and

were acting pursuant to the official policy, practice or custom of the Defendant Jersey City,

Hudson County and ABC entities 1-5

         34.   Acting under color of law pursuant to official policy, practice, or custom,

Defendants Jersey City, Hudson County and ABC entities 1-5

Michael Kelly, Keith Stith and/or John Does 1-10 intentionally, knowingly, recklessly and/or

with deliberate indifference failed to train, instruct, supervise, control, and discipline on a

continuing basis, Defendants and/or John Does 1-10 in their duties to refrain from: (1)

unlawfully and maliciously assaulting, arresting and harassing citizens; (2) intentionally,

recklessly and/or negligently misrepresenting the facts of arrests and/or other police-citizen

encounters; (3) falsifying police and/or other official records; (4) withholding and/or

mishandling evidence; (5) making false arrests, and/or (6) using unreasonable and excessive

force.

         35.   Acting under color of law pursuant to official policy, practice, or custom,

Defendants Jersey City, Hudson County and ABC entities 1-5, Michael Kelly, Keith Stith

and/or John Does 1-10 intentionally, knowingly, recklessly and/or with deliberate




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indifference implemented and/or conducted superficial and shallow Internal Affairs processes

which ignored evidence and patterns of police misconduct on individual and departmental

levels. Acting under color of law pursuant to official policy, practice, or custom, Defendants

Jersey City, Hudson County and ABC entities 1-5, Michael Kelly, Keith Stith and/or John

Does 1-10 failed to professionally, objectively and/or expeditiously investigate instances and

patterns of police misconduct in violation of the spirit and substance of the New Jersey

Attorney General‟s Guidelines for the Use of Force and Internal Affairs Policy and

Procedures.

       36.     Defendants Jersey City, Hudson County and ABC entities 1-5, Michael Kelly,

Keith Stith and/or John Does 1-10 failed to adequately track departmental excessive force

complaints, administrative complaints and/or use of force incidents in violation of

Department policies, practices, customs and/or guidelines and/or the New Jersey Attorney

General‟s Use of Force and/or Internal Affairs Guidelines, and/or failed to discipline officers

for such violations.

       37.     Defendants were aware of numerous similar police citizen encounters

involving, and/or Internal Affairs complaints and/or civil lawsuits filed against John Does 1-

10 and/or other law enforcement officers, where they customarily and frequently subjected

citizens to physical and mental abuse; unlawfully and maliciously assaulted, arrested and

harassed citizens; intentionally, recklessly and/or negligently misrepresented the facts of

arrests and/or other police-citizen encounters; falsified police and/or other official records;

made false arrests, mishandled and/or withheld evidence and/or used unreasonable and

excessive force on citizens/arrestees.

       38.     Despite their awareness, Defendants failed to employ any type of corrective or

disciplinary measures against John Does 1-10 and/or other police officers.




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        39.     Defendants had knowledge of, or, had they diligently exercised their duties to

instruct, train, supervise, control, and discipline Defendants John Does 1-10 on a continuing

basis, should have had knowledge that the wrongs which were done, as heretofore alleged,

were about to be committed.

        40.     Defendants had power to prevent or aid in preventing the commission of said

wrongs, could have done so by reasonable diligence, and intentionally, knowingly, recklessly

and/or with deliberate indifference failed to do so.

        41.     Defendants directly or indirectly, under color of state law, approved and/or

ratified the unlawful, deliberate, malicious, reckless, and wanton conduct of John Does 1-10

heretofore described.

        42.     Defendants encouraged, tolerated, ratified and have been deliberately

indifferent to the following patterns, practices and customs and to the need for more or

different training, supervision, investigation or discipline in the areas of protecting citizens

from unreasonable and unjustified physical pain and suffering, and emotional trauma and

suffering, under the Fourth and Fourteenth Amendments to the United States Constitution.

        43.     Plaintiffs claim damages under 42 U.S.C. §1983, for the injuries set forth

above against all Defendants for violation of the clearly established and well settled federal

constitutional rights of Plaintiff.

        44.     As a direct and proximate cause of conduct of Defendants set forth above,

Plaintiffs were deprived of their Fourth and Fourteenth Amendment constitutional rights;

sustained bodily and emotional injuries; lost wages, and will suffer additional special

damages in the future in an amount which cannot yet be determined.




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       WHEREFORE, Plaintiffs demand judgment against Defendants on this Count

together with compensatory and punitive damages, attorney‟s fees, interest and costs of suit

incurred and for any such further relief as the court deems proper and just.

                                       COUNT III
                            NEW JERSEY CIVIL RIGHTS ACT
                                N.J.S.A. 10:6-1, ET. SEQ.
                                (Against All Defendants)

       45.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.

       46.      The actions of the defendants as set forth in the Complaint were intended to and

did, in fact, deprive Plaintiffs of their Constitutional rights under the Fourth and Fourteenth

Amendments to the United States Constitution.

       47.      N.J.S.A. 10:6-2 provides that:

        “Any person who has been deprived of any substantive due process or equal
        protection rights, privileges or immunities secured by the Constitution or laws of
        the United States, or any substantive rights, privileges or immunities secured by
        the Constitution or laws of this State, or whose exercise or enjoyment of those
        substantive rights, privileges or immunities has been interfered with or attempted
        to be interfered with, by threats, intimidation or coercion by a person acting
        under color of law, may bring a civil action for damages and for injunctive or
        other appropriate relief.”


       48.      As a proximate result of Defendants‟ unlawful conduct, Plaintiffs have suffered

actual physical and emotional injuries, and other damages and losses as described herein

entitling them to compensatory and special damages, in amounts to be determined at trial. As a

further result of the Defendants‟ unlawful conduct, Plaintiffs have incurred special damages,

including medically related expenses and may continue to incur further medically and other

special damages related expenses, in amounts to be established at trial.




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       WHEREFORE, Plaintiffs demand judgment against Defendants on this Count together

with compensatory and punitive damages, attorney‟s fees, interest and costs of suit incurred and

for any such further relief as the court deems proper and just.



                                     COUNT IV
                         NEGLIGENT HIRING AND SUPERVISION

       49.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.

       50.      Defendants City of Jersey City, County of Hudson and John and Jane Does 1-10,

having a duty to competently hire, train and supervise police and investigative personnel, failed

to make reasonable investigation that would have disclosed the employee‟ „undesirable

characteristics, attribute or tendencies and failed to supervise the actions and/or inactions, the

acts and omissions of their employees as set forth above. Defendants‟ negligent hiring and

failure to supervise caused Plaintiffs to suffer serious bodily and emotional injury.

       WHEREFORE, Plaintiffs demand judgment against Defendants on this Count together

with compensatory and punitive damages, attorney‟s fees, interest and costs of suit incurred and

for any such further relief as the court deems proper and just.




                                              LAW OFFICES OF ROBERT L. TARVER, JR.

                                              Attorneys for Plaintiff



                                              By: Robert L. Tarver, Jr.
                                                 Robert L. Tarver, Jr., Esq.
                                                 Attorney for Plaintiffs
Dated: January 21, 2022




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                                      JURY DEMAND


   The Plaintiffs demand a trial by jury on all issues so triable.



                                              LAW OFFICE OF ROBERT L. TARVER, JR.
                                              Attorneys for Plaintiff


                                              By: Robert L. Tarver, Jr.
                                                 Robert L. Tarver, Jr., Esq.
                                                 Attorney for Plaintiffs
Dated: January 21, 2022




                                     CERTIFICATION



              I hereby certify that the matter in controversy is not the subject of any

   other court, arbitration or administrative hearing



                                           LAW OFFICE OF ROBERT L. TARVER, JR.




                                           By: Robert L. Tarver, Jr.
                                              Robert L. Tarver, Jr., Esq.
                                              Attorney for Plaintiffs
Dated: January 21, 2022




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